Case 21-03020-sgj Doc 129 Filed 10/25/21   Entered 10/25/21 17:13:33   Page 1 of 3




                                EXHIBIT B
   Case 21-03020-sgj Doc 129 Filed 10/25/21                  Entered 10/25/21 17:13:33                    Page 2 of 3

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   May 14, 2021                                                         Dubai           Riyadh
                                                                        Dusseldorf      San Diego
                                                                        Frankfurt       San Francisco
                                                                        Hamburg         Seoul
   CONFIDENTIAL                                                         Hong Kong       Shanghai
   VIA REGISTERED MAIL                                                  Houston         Silicon Valley
                                                                        London          Singapore
                                                                        Los Angeles     Tokyo
                                                                        Madrid          Washington, D.C
   Sentinel Reinsurance, Ltd.                                           Milan
   c/o Services Cayman Limited
   PO Box 10008
   Willow House
   Cricket Square
   Grand Cayman KY 1-1001
   Cayman Islands



              Re: Restraining Notice Pursuant to NY CPLR 5222 in connection with UBS Securities
                         LLC et al. v. Highland Capital Management, L.P. et a!., No. 650097/2009 (N.Y.
                         Sup. Ct.)


   To Whom It IVIay Concern:

           We represent UBS Securities LLC and UBS AG London Branch (together, "UBS") in
   connection with pending litigation in the Supreme Court of the State of New York against
   Highland CDO Opportunity Master Fund, L.P. ("CDOFund") and Highland Special Opportunities
   Holding Company ("SOHC," and together with CDO Fund, the "Funds"), among other defendants,
   in a consolidated action captioned UBS Securities LLC ef al. v. Highland Capital Management,
   L.P. et al.. No. 650097/2009 (N.Y. Sup. Ct.) (the "UBS Litieation"),

          On February 10, 2020, a judgment was entered in the UBS Litigation in favor ofUBS and
   against Defendant Highland CDO Opportunity Master Fund, L.P. for the sum of $531,619,426.24
   and against Defendant Highland Special Opportunities Holding Company for the sum of
    $510,771,605.55, for a combined total including prejudgment interest (but excluding post-
   judgment interest) of $1,042,391,031.79. Pursuant to section 5222 of the New York Civil Practice
   Law and Rules, UBS has issued restraining notices to the Funds, which have the effect of
   forbidding the Funds, as judgment debtors, from making or suffering any sale, assignment,
   transfer, or interference with any property in which the Funds have an interest, until the judgment
   is satisfied (the "Restraining Notices").

          A recent investigation has revealed that in or around August 2017, shortly after rulings
   were issued in favor of UBS in the UBS Litigation and in advance of the impending trial,
   substantially all of the assets of the Funds, which had a face value of more than $300 million in
     Case 21-03020-sgj Doc 129 Filed 10/25/21               Entered 10/25/21 17:13:33           Page 3 of 3

     May 14, 2021
     Page 2




LATHAM&WATKINS^

     the aggregate (the "Transferred Assets") were fraudulently transferred to Sentinel Reinsurance,
     Ltd. ("Sentinel"). Upon information and belief, the transfer was orchestrated by, among others,
     James Dondero and Scott Byron Ellington, who indirectly own and control Sentinel. The assets
     were transferred pursuant to a so-called purchase agreement (the "Purchase Agreement"),
     purportedly to satisfy a $25,000,000 premium on a $100,000,000 "after the event" legal liability
     insurance policy issued by Sentinel (the "Insurance Policy"). The Insurance Policy was
     supposedly intended to insure against an adverse judgment in the UBS Litigation—
     notwithstanding that the Transferred Assets were worth more than double the amount of the
     premium and policy limit combined—yet no payment has been made by Sentinel in satisfaction
     of the February 10, 2020 judgment against the Funds.

            Among the assets that were purportedly transferred to Sentinel are assets held by CDO
     Fund related to Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan Funding Ltd.,
     Eastland CLO Ltd., Grayson CLO Ltd., Valhalla CLO Ltd., and Governance Re, Ltd., including
     cash payments related to those assets (collectively, the "CDO Fund Assets").

             Pursuant to section 5222(b) of the New York Civil Practice Law and Rules, upon receipt
     of the Restraining Notices, Sentinel is required to restrain any property in its possession or custody
     in which the Funds, as judgment debtors, have or will have an interest, including the Transferred
     Assets. This includes assets held by a third party in which the judgment debtor possesses a
     sufficient interest, including where such assets were fraudulently conveyed by the judgment
     debtor. See Bingham v. Zolf, 231 A.D.2d 479 (1st Dep't 1996), ERA Mgt. v. Morrison Cohen
     Singer & Weinstein, 199 A.D.2d 179 (IstDep't 1993); 780 E. LLCv. Commerce Bank, 2005 N.Y.
     Misc. LEXIS 8564 (Sup. Ct. N.Y. County 2005); Blue Giant Equip. v. Tec-Ser, 92 A.D.2d 630 (3d
     Dep't 1983), Pensmore Im's. v. Gruppo, Levey & Co., 2015 N.Y. Misc. LEXIS 1403 (Sup. Ct.
     N.Y. County 2018) (Kornreich, J.); Berkshire Bank v. Tedeschi, 2016 U.S. Dist. LEXIS 32930
     (N.D.N.Y. 2016).


             Enclosed are copies of the Restraining Notices. Please confirm promptly that Sentinel will
     restrain the Transferred Assets held in its accounts. If you have any questions regarding the
     contents of this letter or the enclosures, please do not hesitate to contact my colleague Robert Alien
     at (424) 653-5563 or Robert.Allen@lw.com. You can also reach me directly at (202) 637-3323 or
     Andrew.Clubok@lw.com. We look forward to hearing from you.



                                                            Sincerely,

                                                              ^,..< /^ '7^<

                                                            Andrew B. Clubok
                                                            ofLATHAM & WATKINS LLP
